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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION


   IN RE :

   Electrotek Corporation
                                                  §              CASE NO. 21-30409-MV11V
                                                  §                   (Chapter 11)
             Debtor(s)                            §


      NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS


      Please take notice that pursuant to § 1109(b) of the United States Bankruptcy Code, if

   applicable, and Rules 2002 and 9010(b) of the Bankruptcy Rules, the undersigned

   counsel requests that all notices given or required to be given in this case and all other

   pleadings and notices of all matters of which notice is required or permitted to be given

   under the Bankruptcy Code, Bankruptcy Rules and Local Bankruptcy Rules with respect

   to the administration of this case be given to and served upon the following:


                                     Carrollton-Farmers Branch ISD
                                     c/o Linda D. Reece
                                     Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
                                     1919 S. Shiloh Rd., Suite 310
                                     Garland, TX 75042
                                     (972) 278-8282
                                     (817) 860-6509 FAX
                                     email: lreece@pbfcm.com

        Please take further notice that pursuant to § 1109(b) of the United States Bankruptcy

   Code, if applicable, the foregoing request includes the notices and papers referred to in

   Rule 2002 of the Bankruptcy Rules and also includes, without limitation, any plan of

   reorganization and objections thereto, notices of any orders, pleadings, motions,

   applications, complaints, demands, hearings, requests or petitions, disclosure statements,

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   answering or reply papers, memoranda and briefs in support of any of the foregoing and

   any other document brought before this Court with respect to these proceedings, whether

   formal or informal, whether written or oral, and whether transmitted or conveyed by mail,

   delivery, telephone, telegraph, telex or otherwise.


                                                         Respectfully Submitted,

                                                         PERDUE, BRANDON, FIELDER,
                                                         COLLINS & MOTT, L.L.P.
                                                         Attorneys for Claimant(s)



                                                         By: /s/ Linda D. Reece_
                                                            Linda D. Reece
                                                            State Bar No. 24065471
                                                            1919 S. Shiloh Rd., Suite 310
                                                            Garland, TX 75042
                                                            (972) 278-8282
                                                            (817) 860-6509 FAX

                                CERTIFICATE OF SERVICE

   I do hereby certify that a true and correct copy of the above NOTICE OF
   APPEARANCE AND REQUEST FOR SERVICE OF PAPERS, has been served upon
   the parties listed below via U.S. first class mail or electronically via the Court’s ECF
   System on this date: March 30, 2021.



                                                 _/s/ Linda D. Reece__
                                                 Linda D. Reece



   Joyce W. Lindauer                                     Trustee
   1412 Main Street #500                                 Scott M. Seidel (SBRA V)
   Dallas, TX 75202                                      6505 West Park Blvd #306
                                                         Plano, TX 75093




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